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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


    Snik LLC,

                      Plaintiff,                           Civil Action No. 2:19-cv-00387-JRG

          v.

    Samsung Electronics Co., Ltd.; and
    Samsung Electronics America, Inc.,

                      Defendants.



                            SECOND AMENDED DOCKET CONTROL ORDER

       In accordance with the Court’s Order [Dkt. No. 74], it is hereby ORDERED that the
following schedule of deadlines is in effect until further order of this Court:

    Current Date            Proposed Date                                  Event
       8/2/21                     -                *Jury Selection – 9:00 a.m. in Marshall, Texas
      7/13/21                     -                *If a juror questionnaire is to be used, an editable (in
                                                   Microsoft Word format) questionnaire shall be jointly
                                                   submitted to the Deputy Clerk in Charge by this date. 1
       3/29/21                   7/8/21            *Pretrial Conference – 9:00 a.m. in Marshall, Texas
                                                   before Judge Rodney Gilstrap
       3/24/21                  6/30/21            *Notify Court of Agreements Reached During Meet
                                                   and Confer

                                                   The parties are ordered to meet and confer on any
                                                   outstanding objections or motions in limine. The
                                                   parties shall advise the Court of any agreements
                                                   reached no later than 1:00 p.m. three (3) business days
                                                   before the pretrial conference.
       3/18/21                  6/18/21            *File Joint Pretrial Order, Joint Proposed Jury
                                                   Instructions, Joint Proposed Verdict Form, Responses
                                                   to Motions in Limine, Updated Exhibit Lists, Updated
                                                   Witness Lists, and Updated Deposition Designations
       3/15/21                  6/14/21            *File Notice of Request for Daily Transcript or Real
                                                   Time Reporting.

1
 The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in Advance of Voir
Dire.

                                                       1
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    Current Date              Proposed Date                                         Event

                                                       If a daily transcript or real time reporting of court
                                                       proceedings is requested for trial, the party or parties
                                                       making said request shall file a notice with the Court
                                                       and e-mail the Court Reporter, Shelly Holmes, at
                                                       shelly_holmes@txed.uscourts.gov.
       3/8/21                      6/8/21              File Motions in Limine

                                                      The parties shall limit their motions in limine to issues
                                                      that if improperly introduced at trial would be so
                                                      prejudicial that the Court could not alleviate the
                                                      prejudice by giving appropriate instructions to the
                                                      jury.
       3/8/21                      6/8/21             Serve Objections to Rebuttal Pretrial Disclosures
       3/1/21                      6/1/21             Serve Objections to Pretrial Disclosures; and Serve
                                                      Rebuttal Pretrial Disclosures
      2/16/21                      5/17/21            Serve Pretrial Disclosures (Witness List, Deposition
                                                      Designations, and Exhibit List) by the Party with the
                                                      Burden of Proof
       2/8/21                      5/10/21            *Response to Dispositive Motions (including Daubert
                                                      Motions). Responses to dispositive motions that were
                                                      filed prior to the dispositive motion deadline,
                                                      including Daubert Motions, shall be due in accordance
                                                      with Local Rule CV-7(e), not to exceed the deadline
                                                      as set forth in this Docket Control Order.2 Motions for
                                                      Summary Judgment shall comply with Local Rule
                                                      CV-56.
      1/25/21                      4/26/21            *File Motions to Strike Expert Testimony (including
                                                      Daubert Motions)

                                                       No motion to strike expert testimony (including a
                                                       Daubert motion) may be filed after this date without
                                                       leave of the Court.
      1/25/21                      4/26/21             *File Dispositive Motions

                                                       No dispositive motion may be filed after this date without
                                                       leave of the Court.

                                                       Motions shall comply with Local Rule CV-56 and Local
                                                       Rule CV-7. Motions to extend page limits will only be
                                                       granted in exceptional circumstances.    Exceptional

2
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to oppose a motion in
the manner prescribed herein creates a presumption that the party does not controvert the facts set out by movant and
has no evidence to offer in opposition to the motion.” If the deadline under Local Rule CV 7(e) exceeds the deadline
for Response to Dispositive Motions, the deadline for Response to Dispositive Motions controls.

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  Current Date             Proposed Date                                    Event
                                                 circumstances require more than agreement among the
                                                 parties.
      1/19/21                   4/19/21          Deadline to Complete Expert Discovery
      1/6/21                    4/6/21           Serve Disclosures for Rebuttal Expert Witnesses
     12/10/20                   3/10/21          Deadline to Complete Fact Discovery and File Motions to
                                                 Compel Discovery
     12/10/20                   3/10/21          Serve Disclosures for Expert Witnesses by the Party with
                                                 the Burden of Proof
                                3/10/21          Deadline for Final Election of Asserted Prior Art (Dkt. No.
                                                 32)
                                2/10/21          Deadline for Final Election of Asserted Claims (Dkt. No.
                                                 32)
                               12/18/20          Deadline for Defendants to serve amended Invalidity
                                                 Contentions to address new matter/theories in Plaintiff’s
                                                 Amended Infringement Contentions. New references may
                                                 be identified but the total number of prior art references are
                                                 limited in accordance with the Order Focusing Patent
                                                 Claims and Prior Art to Reduce Costs (Dkt. No. 32).
                                12/2/20          Deadline for Plaintiff to serve amended Infringement
                                                 Contentions, consisting of (1) Exhibits C and D to
                                                 Plaintiff’s First Amended Complaint (Dkt. No. 37); and (2)
                                                 charts previously served on October 13. 2019 concerning
                                                 Buds Live. The asserted claims are limited to those
                                                 identified by Plaintiff in accordance with the Order
                                                 Focusing Patent Claims and Prior Art to Reduce Costs (Dkt.
                                                 No. 32).
(*) indicates a deadline that cannot be changed without showing good cause. Good cause is
not shown merely by indicating that the parties agree that the deadline should be changed.

                                   ADDITIONAL REQUIREMENTS

         Mediation: While certain cases may benefit from mediation, such may not be appropriate for every
case. The Court finds that the Parties are best suited to evaluate whether mediation will benefit the case
after the issuance of the Court’s claim construction order. Accordingly, the Court ORDERS the Parties to
file a Joint Notice indicating whether the case should be referred for mediation within fourteen days of
the issuance of the Court’s claim construction order. As a part of such Joint Notice, the Parties should
indicate whether they have a mutually agreeable mediator for the Court to consider. If the Parties disagree
about whether mediation is appropriate, the Parties should set forth a brief statement of their competing
positions in the Joint Notice.

         Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert Motions:
For each motion, the moving party shall provide the Court with two (2) hard copies of the completed
briefing (opening motion, response, reply, and if applicable, sur-reply), excluding exhibits, in D-three-ring
binders, appropriately tabbed. All documents shall be single-sided and must include the CM/ECF header.
These copies shall be delivered to the Court within three (3) business days after briefing has completed.
For expert-related motions, complete digital copies of the relevant expert report(s) and accompanying
exhibits shall be submitted on a single flash drive to the Court. Complete digital copies of the expert
report(s) shall be delivered to the Court no later than the dispositive motion deadline.


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        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

        Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that “[o]n the
first appearance through counsel, each party shall designate a lead attorney on the pleadings or
otherwise.” Additionally, once designated, a party’s lead attorney may only be changed by the filing of a
Motion to Change Lead Counsel and thereafter obtaining from the Court an Order granting leave to
designate different lead counsel.

         Motions for Continuance: The following excuses will not warrant a continuance nor justify a
failure to comply with the discovery deadline:

(a)     The fact that there are motions for summary judgment or motions to dismiss pending;

(b)     The fact that one or more of the attorneys is set for trial in another court on the same day, unless
        the other setting was made prior to the date of this order or was made as a special provision for the
        parties in the other case;

(c)     The failure to complete discovery prior to trial, unless the parties can demonstrate that it was
        impossible to complete discovery despite their good faith effort to do so.

         Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on the DCO
shall take the form of a motion to amend the DCO. The motion to amend the DCO shall include a proposed
order that lists all of the remaining dates in one column (as above) and the proposed changes to each date
in an additional adjacent column (if there is no change for a date the proposed date column should remain
blank or indicate that it is unchanged). In other words, the DCO in the proposed order should be complete
such that one can clearly see all the remaining deadlines and the changes, if any, to those deadlines, rather
than needing to also refer to an earlier version of the DCO.

      Proposed DCO: The Parties’ Proposed DCO should also follow the format described above under
“Amendments to the Docket Control Order (‘DCO’).”

         Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order, the
Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff shall also
specify the nature of each theory of infringement, including under which subsections of 35 U.S.C. § 271 it
alleges infringement, and whether the Plaintiff alleges divided infringement or infringement under the
doctrine of equivalents. Each Defendant shall indicate the nature of each theory of invalidity, including
invalidity for anticipation, obviousness, subject-matter eligibility, written description, enablement, or any
other basis for invalidity. The Defendant shall also specify each prior art reference or combination of
references upon which the Defendant shall rely at trial, with respect to each theory of invalidity. The
contentions of the Parties may not be amended, supplemented, or dropped without leave of the Court based
upon a showing of good cause.




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   So ORDERED and SIGNED this 2nd day of December, 2020.




                                           ____________________________________
                                           RODNEY GILSTRAP
                                           UNITED STATES DISTRICT JUDGE




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